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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                       :       Case No. 3:21-cr-28

              Plaintiff,                        :       Judge Walter H. Rice

       V.                                       :


AARON LEE SMITH,                                :

              Defendant.



                           PRELIMINARY ORDER OF FORFEITURE

       Upon the United States' Motion for Preliminary Order ofForfeiture and the Court's review

ofthe evidence in the record, including the Plea Agreement,the Court HEREBY FINDS THAT:

       On March 18, 2021, a grand jury in the Southern District of Ohio retumed a three-count

Indictment charging defendant Aaron Lee Smith (hereinafter the "Defendant") in Count 1 with

Distribution of Child Pomography,in violation of 18 U.S.C. §§ 2252(a)(2) and(b)(l).

       The forfeiture allegation in the Indictment provided notice to the Defendant that the United

States would seek the forfeiture, pursuant to 18 U.S.C.§ 2253(a),ofany unlawful visual depiction

or property that contains such visual depiction as set forth in 18 U.S.C. § 2253(a)(1) and/or any

property the Defendant used or intended to use to commit the offenses charged in the Indictment,

including but not limited to a Samsung Galaxy S8, Model SM-G950U,IMEI: 359031080483672

(the "subject property").

       On or about May 24, 2021, the Defendant entered into a Plea Agreement with the United

States in which the Defendant agreed to plead guilty to Coimt 1 of the Indictment and agreed to

the immediate forfeiture ofthe subject property, pursuant to 18 U.S.C. § 2253(a), as property that

contains an unlawful visual depiction and/or property that the Defendant used or intended to use
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to commit the offense set forth in Count 1 ofthe Indictment.

       The Defendant entered a plea ofguilty to Count 1 ofthe Indictment on May 24,2021.

       The subject property is forfeitable, pursuant to 18 U.S.C. § 2253(a)(1) and (3), as property

that contains an unlawful visual depiction and/or property that the Defendant used or intended to

use to commit the offense set forth in Count 1 of the Indictment. The Defendant had an interest

in the subject property.

        The United States has established the requisite nexus between the subject property and the

Defendant's offense.

        THEREFORE,IT IS HEREBY ORDERED THAT:

        1.      All right, title, and interest in the subject property is condemned and forfeited to the

United States pursuant to 18 U.S.C. § 2253(a)(1) and (3).

        2.     The United States is authorized to seize the subject property, pursuant to 21 U.S.C.

§ 853(g)and Fed. R. Crim. P. 32.2(b)(3), whether held by the Defendant or a third party; conduct

any discovery for identifying,locating,or disposing ofthe property; and to commence proceedings

that comply with any statutes governing third party rights.

        3.      In accordance with the direction provided by the Attorney General and Fed. R.

Crim. P. 32.2(b)(6), the United States shall publish notice of this Order and send notice to any

person who reasonably appears to be a potential claimant with standing to contest the forfeiture in

the ancillary proceeding. Publication must take place as described in Supplemental Rule

G(4)(a)(iii) of the Federal Rules of Civil Procedure, and may be by any means described in

Supplemental Rule G(4)(a)(iv). Publication is unnecessary ifany exception in Supplemental Rule

 G(4)(a)(i) applies.

        4.      The notice must describe the forfeited property, state the times xmder the applicable
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statute when a petition contesting the forfeiture must be filed, and state the name and contact

information for the Assistant United States Attorney to be served with the petition. The notice

may be sent in accordance with Supplemental Rules G(4)(b)(iii)-(v).

       5.      Pursuant to 21 U.S.C. § 853(n)(2), any person, other than the Defendant, asserting

a legal interest in the subject property, who wishes to contest the forfeiture ofthe subject property

must, within thirty (30) days of the final publication of notice or of receipt of actual notice,

whichever is earlier, file a petition in the United States District Court for the Southern District of

Ohio for a hearing to adjudicate the validity of the alleged legal interest in the subject property.

       6.      Any petition filed by a third party shall be signed by the petitioner under penalty of

peijury and shall set forth the nature and extent of the petitioner's right, title, or interest in the

property; the time and circumstances of the petitioner's acquisition of the right, title, or interest in

the property; any additional facts supporting the petitioner's claim; and the relief sought.

       7.      The United States shall have clear title to the subject property following the Court's

disposition of all third party interests, or if no third party petitions are timely filed, following the

expiration of the period provided by statute for the filing of third party petitions.

        8.     In accordance with the Plea Agreement,this Preliminary Order of Forfeiture is final

as to the Defendant and shall be made part of the sentence and included in the Judgment. This

Order remains preliminary as to third parties until the ancillary proceeding is concluded.

       IT IS SO ORDERED.


Dated: 9 -
                                                WALTER H. RICE'
                                                UNITED STATES DISTRICT JUDGE
